






NO. 07-04-0345-CV


NO. 07-05-0186-CV


NO. 07-05-0253-CV


NO. 07-05-0311-CV


NO. 07-05-0439-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



APRIL13, 2006


______________________________



In re: VIVIAN JACKSON, an Incapacitated Person


_________________________________



FROM THE COUNTY COURT AT LAW NO. 1  OF POTTER COUNTY;



NO. 282-1; HON. W. F. "CORKY" ROBERTS, PRESIDING


_______________________________



ORDER DISMISSING APPEALS


			       _______________________________


Before QUINN, C.J., REAVIS, J., and BOYD, S.J. (1)

	Appellants, by and through their attorneys, have moved to dismiss the appeals
numbered above due to all matters having been resolved between the parties.  Without
passing on the merits of the cases, we grant the motions pursuant to Texas Rule of
Appellate Procedure 42.1(a)(2) and dismiss the appeals.  Having dismissed the appeals
at the request of appellants, no motions for rehearing will be entertained, and our
mandates will issue forthwith.


							Per Curiam
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment.  Tex. Gov't
Code Ann. §75.002(a)(1) (Vernon 2005). 



;
	left: 10px;
	right: 10px;
	background-color: rgb(255, 255, 225);
	border-width: 1px;
	border-style: solid;
	border-color: black;
	margin-top: 25px;
	padding: 6px;
	line-height: normal
}

span.WPNormal
{
	font-family: "Arial", sans-serif;
	font-size: 12pt;
	font-weight: normal;
	font-style: normal;
	font-variant: normal;
	text-align: left;
	text-decoration: none;
	color: black;
	vertical-align: middle;
	text-indent: 0in
}

body
{
	font-family: "Arial", sans-serif;
	font-size: 12pt;
	font-weight: normal;
	font-style: normal
}





NO. 07-07-0208-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

MAY 7, 2008
______________________________

EDWARD W. BARNETT, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 364TH DISTRICT COURT OF LUBBOCK COUNTY;

NO. 2006-411833; HONORABLE BRADLEY S. UNDERWOOD, JUDGE
_______________________________


Before CAMPBELL and HANCOCK and PIRTLE, JJ. 
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Edward W. Barnett appeals his conviction for aggravated robbery


 and
sentence of forty years confinement in prison.  His appointed appellate counsel has filed
a motion to withdraw from representation and an Anders


 brief.  We will grant counsel’s
motion to withdraw and affirm the judgment of the trial court.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Without a plea agreement for sentencing, appellant plead guilty to robbing EZ
Money, a Lubbock cash advance establishment, at gunpoint.  The court accepted the plea
and ordered a presentence investigation report (PSI).  After the community supervision
officer prepared the PSI, the court conducted the punishment hearing in appellant’s case. 
At the hearing, the State presented evidence of the robbery to which appellant pleaded
guilty and appellant offered mitigation evidence including the testimony of a psychologist. 
The court then sentenced appellant to confinement for forty years in the Texas Department
of Corrections Institutional Division.  Appellant filed a motion for new trial, which the court
denied, and timely perfected this appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his motion to withdraw and Anders brief, appellant’s court-appointed counsel
certifies he diligently reviewed the record and, in his professional opinion, under the
controlling authorities and facts of the case, no reversible error or legitimate grounds for
predicating a non-frivolous appeal exist.  The brief discusses the procedural history of the
case including the sentencing hearing.  Counsel discusses a potential appellate issue,
explaining why he finds it without merit.  He also certifies that a copy of the Anders brief
was served on appellant, along with notice of appellant’s right to review the record and file
a pro se response.  Johnson v. State, 885 S.W.2d 641, 645 (Tex.App.–Waco 1994, pet.
ref'd).  Appellant filed a pro se response to counsel’s Anders brief.  The State also has filed
a brief.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When court-appointed counsel files a motion to withdraw and a brief in which he
concludes no arguable grounds for appeal exist, we review the record and make an
independent determination.  See Anders, 386 U.S. at 744, 87 S. Ct. at 1400 (the appellate
court, and not counsel, after full examination of the record, determines whether the case
is “wholly frivolous”); accord, Bledsoe v. State, 178 S.W.3d 824, 826 (Tex.Crim.App. 2005);
Mitchell v. State, 193 S.W.3d 153, 155 (Tex.App.–Houston [1st Dist.] 2006, no pet.).  We
consider an appellant’s pro se response to an Anders brief, but we do not rule on the
ultimate merits of the response.  See Bledsoe, 178 S.W.3d at 826-27 (an appellant would
be denied meaningful assistance of appellate counsel were the court of appeals to address
and reject the merits of an appellant’s pro se response to an Anders brief); Mitchell, 193
S.W.3d at 155-56. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;If from our review of the record we find arguable grounds for appeal, we will abate
the appeal, remand the case to the trial court, and allow withdrawal of court appointed
counsel.  Bledsoe, 178 S.W.3d at 826-27; Mitchell, 193 S.W.3d at 156.  The trial court
must then appoint new appellate counsel to present all arguable appellate grounds.  See
Bledsoe, 178 S.W.3d at 826-27.  Only after new appellate counsel has briefed the issues
may we address the merits of the issues raised.  Id. at 827.  If we determine from our
independent review of the entire record that the appeal is wholly frivolous, we may affirm
the trial court's judgment by issuing an opinion explaining that we reviewed the record and
found no arguable grounds for appeal.  Bledsoe, 178 S.W.3d at 826-27; Mitchell, 193
S.W.3d at 156.  An appellant may challenge a court of appeal’s finding of no arguable
grounds for appeal by a petition for discretionary review filed in the Court of Criminal
Appeals.  Bledsoe, 178 S.W.3d at 827 &amp; n.6; Mitchell, 193 S.W.3d at 156.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his Anders brief, counsel identifies and discusses the potential issue that
extraneous misconduct evidence not proved beyond a reasonable doubt was considered
by the trial court in assessing punishment.  However, counsel concludes pursuit of this
issue on appeal would be frivolous, and we agree. &nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his pro se response to counsel’s brief, appellant presents three issues arising
from a claimed involuntary plea of guilty and ineffective assistance of trial counsel.  On the
record presented, we find none of appellant’s issues are arguably meritorious. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having considered the Anders brief of counsel and appellant’s pro se response, and
having reviewed the entire record, we agree with appellant’s counsel on appeal that this
record presents no arguable grounds for appeal.  Accordingly, counsel’s motion to
withdraw is granted


 and the judgment of the trial court is affirmed. 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice





Do not publish.


